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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________

JOANN ABBO-BRADLEY, et al.,                                          REPORT AND
                                                                     RECOMMENDATION
                                Plaintiffs,
v.                                                                   1:20-cv-00136-FPG-JJM

CITY OF NIAGARA FALLS, et al.,

                        Defendants,
________________________________________

               This case seeks damages for personal injury and property damage allegedly

caused by the release of toxic chemicals. This is the second time that this case and the related

case of Pierini, et al. v. City of Niagara Falls, et al. (20-cv-00142) have been removed to this

court from the State of New York Supreme Court, County of Niagara. The initial removal

occurred in response to the First Amended Complaint in this case, which alleged that the Love

Canal landfill site was the source of the exposure. Plaintiffs successfully moved for remand of

both actions following their removal. See Abbo-Bradley v. City of Niagara Falls, 2013 WL

4505454, *1 (W.D.N.Y. 2013) (Curtin, J.); Pierini v. City of Niagara Falls, 2013 WL 4505461

(W.D.N.Y. 2013) (Curtin, J.).

               Defendants removed this case again on February 1, 2020 in response to the Third

Amended Complaint, which added additional sources of alleged exposure from three waste

disposal sites (102nd Street, S-Area, and Hyde Park) and a Niagara Falls plant owned by
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defendant Occidental Chemical Corporation. Notice of Removal [3]. 1 Similar amendments were

made in Pierini, as well as the 17 other related actions, which were also removed. 2

                 Before the court is plaintiffs’ motion for remand [39]. The parties have stipulated

that all briefing and a decision on the motion will occur in this action, but will also be applicable

to all of the related actions. Consented to Motion [15], ¶6. Having reviewed the parties’

submissions [39-45, 50-51, 57-59-1, 61, 63-64, 66 67, 69] and heard oral argument on May 28,

2020 [56], for the following reasons, I recommend that the motion be granted.



                                           BACKGROUND

                 This action was commenced in Niagara County Supreme Court by Complaint

dated April 10, 2012 [41-1] against the City of Niagara Falls and two entities responsible for

maintaining, monitoring, and managing the Love Canal site for a discharge of contaminates from

the site that occurred during a sewer pipe excavation on January 11, 2011. 3




1
         Bracketed references are to the CM/ECF docket entries. Unless otherwise indicated all docket
references are to 20-cv-00136, and page references are to numbers reflected on the documents themselves
rather than to the CM/ECF pagination.
2
         Reynolds, et al. v. City of Niagara Falls, et al. (20-cv-00154); Leone, et al. v. City of Niagara
Falls, et al. (20-cv-00139); Brown, et al. v. City of Niagara Falls, et al. (20-cv-00148); Bach, et al. v. City
of Niagara Falls, et al. (20-cv-00147); Wieloszynski, et al. v. City of Niagara Falls, et al. (20-cv-00151);
Alaji, et al. v. City of Niagara Falls, et al. (20-cv-00153); Banks, et al. v. City of Niagara Falls, et al. (20-
cv-00152); Barber, et al. v. City of Niagara Falls, et al. (20-cv-00141); Abdullah, et al. v. City of Niagara
Falls, et al. (20-cv-00145); Brandon, et al. v. City of Niagara Falls, et al. (20-cv-00150); Ricketts, et al. v.
City of Niagara Falls, et al. (20-cv-00149); Bennett, et al. v. City of Niagara Falls, et al. (20-cv-00146);
E. Abrams, et al. v. City of Niagara Falls, et al. (20-cv-00137); T. Abrams, et al. v. City of Niagara Falls,
et al. (20-cv-00144); Bietz, et al. v. City of Niagara Falls, et al. (20-cv-00138); Bloom, et al. v. City of
Niagara Falls, et al. (20-cv-00143); Thornton, et al. v. City of Niagara Falls, et al. (20-cv-00155).
3
        The parties’ familiarity with the history of the Love Canal site, including the remediation efforts
directed at that site, is presumed.

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                                      The First Removal

               The First Amended Complaint [41-2] dated March 26, 2013 significantly

expanded the scope of the litigation, adding Occidental and other defendants for their roles in the

alleged negligent design, implementation, operation, and maintenance of the remediation and

containment system at the Lovel Canal site. It alleged state common law claims of negligence,

abnormally dangerous activities, private nuisance, and trespass. Id. On April 18, 2013, the

Pierini action was commenced State of New York Supreme Court, County of Niagara [41-3].

               Both actions were removed to this court in May 2013 on the ground that the

claims about the Love Canal remedy triggered federal question jurisdiction. See 13-cv-000487,

Notice of Removal [1]. Specifically, the Notice of Removal stated, inter alia, that “[p]laintiffs

allege that the Occidental Defendants breached a duty of care, arising under federal consent

decrees, in their operation, maintenance, and monitoring of the Comprehensive Environmental

Response, Compensation, and Liability Act (“CERCLA”) remedy that was implemented at the

Love Canal Site”. Id., ¶36.

                                      The Remand

               Plaintiffs successfully moved to remand the actions. See Abbo-Bradley, 2013 WL

4505454; Pierini, 2013 WL 4505461. In his August 22, 2013 Decision and Order remanding the

actions, District Judge John T. Curtin explained that:

       “plaintiffs seek relief only under common law theories of negligence, abnormally
       dangerous activities, private nuisance, and trespass - theories which have long
       been recognized by the New York courts as a basis for recovery from parties
       found to be responsible for personal injury and property damage occurring as
       a result of the release of toxic chemical wastes or other hazardous substances
       into the environment . . . . Plaintiffs do not cite the CERCLA statute, nor do
       they seek reimbursement of response costs or any other form of the relief
       available under its provisions, and the well-pleaded First Amended Complaint
       raises no other issues of federal law . . . . [T]here is no specific request for



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       enforcement, modification, or alteration of the requirements of the consent decrees,
       judgments, orders, or any other judicial or administrative findings made with
       respect to the issues presented in that case. . . . CERCLA does not completely preempt
       plaintiffs’ nuisance or trespass claims, or otherwise foreclose plaintiffs from relying
       on common law theories for the relief they seek. In the absence of complete
       preemption, defendants' contentions regarding the preclusive effect of the consent
       decrees, the requirements of the existing remedial program, or the liabilities and
       obligations under CERCLA can only be regarded as federal defenses to properly
       raised state law claims, which ‘state courts, being of equal dignity with federal
       courts, are equally competent’ to adjudicate. Abbo-Bradley, 2013 WL 4505454, *7-8

               In finding that plaintiffs’ right to relief did not depend on resolution of substantial

questions of federal law, Judge Curtin likewise found that:

       “plaintiffs’ right to relief in this action is not predicated on CERCLA or any
       other federal law. Rather, the propriety of the relief sought must be determined
       according to common law tort principles of duty, breach, causation, and
       damages, as applied by the courts of New York State. While defendants argue
       that the state law causes of action necessarily implicate CERCLA because they
       challenge the operation, maintenance, monitoring, and effectiveness of the
       remedy, this argument can only be countenanced as a defense to plaintiffs’
       claims for damages based on injuries caused by releases of toxic chemicals
       from the Landfill.” Id., *9.

In doing so, he further rejected defendants’ argument that removal was proper under the

exclusive federal jurisdiction that exists pursuant to 42 U.S.C. §9613(b) for controversies arising

under CERCLA, explaining that

       “the claims set forth in the First Amended Complaint do not expressly challenge
       the effectiveness of the Landfill remedy, request modification of any of its carefully
       crafted and fully implemented remedial components, or seek any specific action
       that might conflict with the remediation plan. Rather, plaintiffs seek only to be
       made whole for any harm proximately caused by defendants’ conduct, whether in
       performance of operation, maintenance, and monitoring obligations with respect to
        the remedy”. Id., *10.




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                              The State Court Proceedings

               Shortly after the actions were remanded, a similar action, Connor v. City of

Niagara Falls, was commenced on September 17, 2013 in State of New York Supreme Court,

County of Niagara [41-4]. On January 29, 2014 [41-5], that court (Hon. Richard C. Kloch, Sr.)

dismissed plaintiffs’ claim for loss of companionship services and request for an abatement order

in Abbo-Bradley, and permitted the Second Amended Complaint, which had been filed on

January 15, 2014 [41-6]. In response, defendants moved to dismiss the Second Amended

Complaint.

               On February 14, 2014, 15 additional related actions were commenced in State of

New York Supreme Court, County of Niagara. See Hogan Affidavit [41], ¶¶10-21. The actions

were stayed pending resolution of the motion to dismiss the Second Amended Complaint in

Abbo-Bradley. Id., ¶25. That motion was granted in part and denied in part by Justice Kloch,

and later modified by the Appellate Division, Fourth Department on October 2, 2015 [39-8].

               Discovery appears to have commenced in July 2016. Hogan Affidavit [41], ¶26.

The nineteenth and final related action (Thorton v. City of Niagara Falls) was filed on August 17,

2017 in State of New York Supreme Court, County of Niagara. [42-5]. At that time, there were

more than 1,200 total plaintiffs. Hogan Affidavit [41], ¶29. Defendants did not initially remove

any of the 17 related actions commenced following the remand. They explain that “[w]hen

Judge Curtin rejected federal jurisdiction, Defendants respected the application of his decision to

the additional copycat complaints that were filed and did not attempt to remove them”.

Defendants’ June 5, 2020 post-argument letter brief [57], p. 2.




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                      The Amended Complaints Triggering the Second Removal

               In early January 2019, plaintiffs’ counsel advised Occidental’s counsel that

plaintiffs intended to seek leave to amend their complaints 4 based on newly discovered sources

of toxic exposure for which they believed Occidental bore responsibility. Phillips Affidavit [39-

2], ¶14. During a January 22, 2019 meeting, plaintiffs provided Occidental’s counsel with a

draft proposed Third Amended Complaint marked “Confidential” in Abbo-Bradley [42-27] that

added allegations about additional sources of exposure from sites in or near Niagara Falls,

including Occidental’s plant located at 4700 Buffalo Avenue and three waste sites it allegedly

controls - Hyde Park landfill, the 102nd Street waste site, and the S-area waste site. Hogan

Affidavit [41], ¶35; Phillips Affidavit [39-2], ¶14.

               On March 5, 2019, plaintiffs’ counsel e-mailed Occidental’s counsel a “slightly

updated version” of the proposed Third Amended Complaint in Abbo-Bradley, and asked

whether Occidental would consent to the amendment in that case, “as well as the 18 other

companion cases”. [42-8], p. 2 of 83 (CM/ECF). Defendants responded approximately a month

later that they might be willing to stipulate to the amendment, so long as it was made in all 19

cases uniformly. Hogan Affidavit [41], ¶36. Plaintiffs initially provided defendants with five

additional proposed amended complaints on July 9, 2019 [42-9]. On August 7, 2019, defendants

noted that some of the proposed amended complaints did not have identical allegations, which

they assumed “was a ministerial copy and paste issue”. [39-15], p. 3 of 4 (CM/ECF). At that

point, defendants reaffirmed that they were “still willing to stipulate to a motion for leave to




4
        While pending in Niagara County Supreme Court, some the complaints in the 19 related actions
were amended once or more, whereas others were not. See Chart of amendments [39-7]. Therefore, I
have referred to them collectively as the “amended complaints”.

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amend to address all of the complaints at once, provided that all 19 complaints [were] revised

uniformly across the board”. Id.

               The remaining proposed amended complaints were provided to defendants on

October 25 and 28, 2019. [39-14]. On November 8, 2019, defendants notified plaintiffs of

several errors in the proposed amended complaints. These primarily concerned the inclusion of

previously dismissed plaintiffs and defendants. [39-15], pp. 2-3 of 4 (CM/ECF). A week later,

defendants informed Justice Kloch that

       “Plaintiffs have presented defendants with a draft third amended complaint
       in the Abbo-Bradley lawsuit, in which they seek to raise new claims, similar
       to those they previously raised with respect to the Love Canal site, but relating
       to 3 more landfills and the Occidental Niagara Falls plant . . . . Without conceding
       anything and while reserving all rights and objections, defendants are prepared
       to agree to plaintiffs’ request for leave to allow them to file the amendment complaints
        in Abbo-Bradley and the other 18 lawsuits, subject to an acceptable stipulation
       and a review of the proposed amendments in the other 18 lawsuits. That tentative
       agreement is conditioned . . . on plaintiffs simultaneously filing proposed amended
       complaints in the other 18 related lawsuits. The parties expect in the near future
       they will be in a position to present to the Court the 19 proposed amended complaints
       and stipulation to permit the filings”. [39-16], p. 1.

               At a scheduling conference before Justice Kloch on November 25, 2019, the

parties informed him that defendants had consented to the proposed amended complaints in all

19 actions, but that they were finalizing which plaintiffs would be removed from the amended

complaints. Phillips Affidavit [39-2], ¶18; Phillips Reply Affidavit [51], ¶11. This was

confirmed in Justice Kloch’s November 27, 2019 Scheduling Order [39-18], which stated that

“plaintiffs will file Amended Complaints, as the defendants have consented, by January 6, 2020.

Id., ¶1. Deadlines were also set for defendants to answer or otherwise move against the amended

complaints. Id., ¶¶2-5.

               According to plaintiffs, between at least November 8, 2019 through January 2020,

counsel undertook “to weed out” the plaintiffs who had previously settled or upon further


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investigation asserted claims that lacked sufficient merit to proceed. Phillips Reply Affidavit

[51], ¶¶5-6. Although the parties engaged in numerous exchanges concerning the final form of

the amended complaints during that period, “at no time [since] at least November 28, 2019 were

there any negotiations regarding the amendments upon which Defendants [would] base their

removals”. Id., ¶7. Between 2016 and January 2020, more than 476 plaintiffs were dismissed

from the actions. Hogan Affidavit [41], ¶50. After the process of winnowing down the plaintiffs

was complete, a Stipulation to Amend Complaints [43-1] was signed by the parties, and the

amended complaints were filed on January 6, 2020. Hogan Affidavit [41], ¶49.



                                      The Second Removal

               Defendants removed all 19 actions on February 1, 2020, contending that the

amended complaints present substantial federal questions arising under CERCLA, assert claims

against defendants for their acts under the authority of federal officers, and otherwise are within

the court’s supplemental jurisdiction. Notice of Removal [3].

               The removal on those grounds allegedly “arises from the new allegations about

the three CERCLA sites that were not previously before this Court”. Id., ¶46. The Notice of

Removal relies on Bartlett v. Honeywell International, Inc., 737 Fed. Appx. 543 (2d Cir. 2018)

(Summary Order) - a decision which post-dates Judge Curtin’s initial remand order. Id., ¶27. In

explaining why the amended complaints raise federal issues, defendants state, inter alia, that:

       “[p]laintiffs’ claims of ongoing exposure from the 102nd Street, S-Area, and Hyde Park
       CERCLA remedies . . . challenge the sufficiency and effectiveness of those remedies
       that were designed and implemented by or at the direction of EPA and DEC, and have
       been operated, maintained, and monitored by the Occidental Defendants pursuant to
       federal Consent Decrees and DEC’s and EPA’s continuous oversight and approval
       through the present day”. Id., ¶28.




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               In relying on federal officer jurisdiction, the Notice of Removal likewise states,

inter alia, that defendants’ “alleged failures . . . occurred while the Occidental Defendants were

carrying out their federal Consent Decree duties under EPA’s and DEC’s supervision pursuant to

CERCLA”. Id., ¶42.

               Plaintiffs’ motion to remand [39] challenges the removal on procedural and

substantive grounds, and seeks attorneys’ fees and costs pursuant to 28 U.S.C §1447(c).



                                       DISCUSSION

               Generally, pursuant to 28 U.S.C. §1446(b), a defendant must file a notice of

removal within 30 days after receipt of the first pleading in the state court action that sets forth a

removable claim. Where a case is not initially removable, a defendant may file a notice of

removal “within thirty days after receipt . . . through service or otherwise, of a copy of an

amended pleading, motion, order or other paper from which it may first be ascertained that the

case is one which is or has become removable”. 28 U.S.C. §1446(b)(3).

               “[I]n light of the congressional intent to restrict federal court jurisdiction, as well

as the importance of preserving the independence of state governments, federal courts construe

the removal statute narrowly, resolving any doubts against removability.” Purdue Pharma L.P. v.

Kentucky, 704 F.3d 208, 213 (2d Cir. 2013). This includes the “statutory procedures for

removal”, which are “to be strictly construed”. Syngenta Crop Protection, Inc. v. Henson, 537

U.S. 28, 32 (2002). Although plaintiffs are moving for remand, the burden on this motion for

establishing removability falls on defendants. See Enterprises v. Allen, 2016 WL 3512176, *4

(E.D.N.Y. 2016).




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               Plaintiffs argue that the well-pleaded complaint rule bars jurisdiction, but also

suggest that “the Court need not even reach the question of subject matter jurisdiction in view of

the procedural defects in the removal. First, all of the removals are untimely. Second, as to the

Abbo-Bradley and Pierini cases, they have previously been removed on grounds of federal

question jurisdiction, and cannot be removed on the same ground again. Finally, defendants are

collaterally estopped from removing the other cases on the same ground again.” Plaintiffs’

Memorandum [39-1], p. 5. In response, defendants argue that since a new removal period was

triggered by the new grounds for removal presented by the amended complaints, the removal

was timely under 28 U.S.C. §1446(b)(3), and also timely under the revival doctrine. Defendants’

Joint Memorandum of Law [40], p. 8.



A.     Did the Amended Complaints Trigger a New Removal Period?

       1.      28 U.S.C §1446(b)(3)

               Plaintiffs argue that the amendments “did not make the cases newly removable,

since they did not add any new basis for federal question jurisdiction that could have not been

asserted by defendants upon receipt of the original complaint”. Plaintiffs’ Memorandum [39-1],

p. 6. Therefore, they argue that “the 17 cases that had not been previously removed should have

been removed no more than 30 days from the date on which they were originally filed.” Id. As

to the remaining two cases - Abbo-Bradley and Pierini - that were previously removed on federal

question grounds, plaintiffs argue that they cannot be removed again on that ground. Id., pp. 10-

11. To the extent that defendants’ Notice of Removal relies for the first time on federal officer

jurisdiction, plaintiffs argue that since “the original complaint disclosed as much”, it is too late

for them to now seek removal on that basis. Id., pp. 7-9.



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               In response to those arguments, defendants direct their arguments to the

successive removal of Abbo-Bradley and Pierini. Defendants’ Joint Memorandum of Law [40],

pp. 8-9. Relying on O’Bryan v. Chandler, 496 F.2d 403 (10th Cir. 1974), they argue that “[a]

different ground for purposes of successive removal need not be a different theory of federal

jurisdiction, but only different facts supporting it. Indeed, courts have permitted successive

removals where an amended complaint sets forth new facts that substantiate the originally stated

removal ground.” Id.

               “[A] prior, unsuccessful removal is not an automatic bar to a successful

successive removal when the requirements of 28 U.S.C. § 1446(b)(3) are satisfied. Therefore, the

key inquiry on the present motion is whether Defendant received ‘a copy of an amended

pleading, motion, order or other paper from which it may first be ascertained that the case is one

which is or has become removable.’” Washington v. Key Health Medical Solutions, Inc., 2012

WL 12892691, *3 (C.D. Cal. 2012) (quoting 28 U.S.C. §1446(b)(3)). See also O’Bryan, 496

F.2d at 409 (“the voluntary action of the plaintiff in amending his state complaint must set forth a

ground for removal that appears for the first time”). Consequently, a narrow exception exists

that permits “[r]emoval . . . on the same theory of federal jurisdiction (i.e., federal question or

diversity jurisdiction)”, where there is “a different set of facts establishing a new ground for

removal”. Everett Financial, Inc. v. Kocher, 2019 WL 4597574, *2 (N.D. Tex. 2019). See also

Ortiz v. City of New York, 2013 WL 2413724, *2 (S.D.N.Y. 2013) (“federal courts have

adhered to a general rule that, absent an intervening change in the underlying factual

circumstances, a second removal by the same party on the same ground is impermissible and

may subject the removing party to sanctions”).




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               These principles intersect with 28 U.S.C. §1447(d), which prohibits review of

“[a]n order remanding a case to the State court . . . on appeal or otherwise”, and thereby

“effectively makes the [law of the case] doctrine mandatory in removal cases”. Bank of America

v. Pastorelli-Cuseo, 2017 WL 4678184, *2 (D. Conn. 2017). See also Washington v. Riley, 2014

WL 993515, *4 (W.D. La. 2014) (“section 1446(b) must be read in harmony with 28 U.S.C. §

1447(d)”). “In other words, section 1447(d) and the law of the case doctrine collectively bar a

successive removal by the same party on the same grounds if nothing of significance has

changed since the prior removal.” Id.

               Defendants rely heavily on O’Bryan, supra. There, the defendant, a federal

bankruptcy judge, was sued for libel for submitting, with leave of the Tenth Circuit Court

Appeals, a pro se brief (apart from what was submitted on his behalf by his counsel) in

opposition to the plaintiff’s appeal of a decision dismissing his malicious prosecution suit against

the defendant on judicial immunity grounds. See 496 F.2d at 406; O’Bryan v. Chandler, 356

F.Supp. 714, 716 (W.D. Ok. 1973); Chandler v. O’Bryan, 445 F.2d 1045, 1049 (10th Cir. 1971).

The defendant removed the action pursuant to 28 U.S.C. §1442(a)(3), which permits removal of

an action against “[a]ny officer of the courts of the United States, for or relating to any act under

color of office or in the performance of his duties”. Following remand, the plaintiff amended his

complaint to base his libel claim on an entirely different publication - a separate preliminary

draft of the defendant’s pro se brief that he provided to a local newspaper, resulting in a front

page story. 496 F.2d at 407.

               That amendment led to a second removal by the defendant, also pursuant to 28

U.S.C. §1442(a)(3). Finding that the newly alleged libelous publication constituted a new

ground for removability, the court explained that “[t]he place where the alleged libel is published



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is significant in determining whether an officer of the court is acting ‘under color of office or in

the performance of his duties’”. 496 F.2d at 411 (emphasis added).

               Here, by contrast, defendants fail to explain - nor is it readily apparent - why the

addition of the three other possible sources of contamination present a different ground for

removability. Without “factual allegations that are sufficiently distinct to provide a ground for

removal that [was] not disposed of under [the original pleadings]”, Kindred Hospitals Limited

Partnership v. Aetna Life Insurance Co., 2018 WL 4215118, *4 (N.D. Tex. 2018) (emphasis

added), successive removal is prohibited.

               The other cases cited by defendants illustrate the type of amendment necessary to

permit a successive removal. See Defendants’ Joint Memorandum of Law [40], pp. 8-9; June 5,

2020 post-argument letter brief [57], p. 5. For example, in Jordan v. Equity Group Eufaula

Division, LLC, 648 F.Supp.2d 1246, 1247 (M.D. Ala. 2009), the complaint alleged that the

plaintiff’s termination violated the “employee handbook”. The defendant removed the case,

alleging that the it was preempted by the Labor Management Relation Act (“LMRA”), which

preempts all state law claims not independent of a labor contract between the employer and the

employee’s labor organization. Id. When the plaintiff later amended his complaint to allege that

his termination violated the defendant’s “contractual agreements with an[d] on behalf of the

Plaintiff”, the defendant removed the case again. Id., 1248. Not surprisingly, the second removal

was permissible because it made “clear for the first time that the LMRA preempts some of [the

plaintiff’s] claims”. Id. at 1252 (emphasis added). See also Sharp v. Wellmark, Inc., 2012 WL

5985447, *1, 3 (D. Kan. 2012) (permitting a successive removal based on Employee Retirement

and Income Security Act preemption, where the initial action only sought to enforce the parties’

private settlement agreement but the amended complaint sought relief outside of the scope of the



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settlement agreement); S.W.S. Erectors, Inc. v. Infax, Inc., 72 F.3d 489, 493-94 (5th Cir. 1996)

(permitting a second removal on diversity of citizenship grounds where the first removal was

based on the defense counsel’s affidavit concerning the amount in controversy, and the second

was based on newly acquired facts from the plaintiff’s president’s deposition); APM &

Associates, Inc. v. North Texas Tollway Authority, 2010 WL 11627811, *1 (E.D. Tex. 2010)

(after dismissing the plaintiffs’ federal claims without prejudice, the court remanded the state

law claims, but the defendants were permitted to remove the action again in response to the

plaintiffs’ subsequently filed third amended petition, which reasserted their previously dismissed

federal causes of action based upon additional factual allegations).

               Each of the cases relied upon by defendants involved factual allegations or facts

which later came to light for the first time, establishing a new ground for removal. That has not

occurred here. “[F]rom a removal perspective, this case is the same as it ever was”. Pastorelli-

Cuseo, 2017 WL 4678184, at *3. Any ground for removal that was presented by the earlier

pleadings remains unchanged by the addition of the three other alleged sites responsible for the

contamination. See Elisa C. v. New Mexico Department of Health, 2005 WL 8163780, *3

(D.N.M. 2005) (“unlike O’Bryan, the amended complaint here did not state a new ground for

removal. Changes in Plaintiffs’ complaint merely flesh out the existing claim”).

               Defendants argue that the “three newly alleged sites (102nd Street, S-Area, and

Hyde Park) are located in different areas, received different chemicals at different times, were

the subject of different federal cleanup lawsuits, and were remediated by different people at

different times under different CERCLA consent decrees. And unlike the Love Canal

allegations, the new Plant allegations challenge ongoing and future business operations”.

Defendants’ Joint Memorandum of Law [40], p. 10. However, notwithstanding those changes,



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the claims in the case remain the same. The same arguments that defendants contend support

removability now were previously presented on their initial removal. See, e.g., Notice of

Removal (13-cv-00487) [1], ¶23 (“[a] challenge to a CERCLA remedy presents a controversy

arising under CERCLA”); id., Point IV (“[p]laintiffs’ Claims Depend on Duties arising under the

Federal Consent Decrees, which . . . Establish a Substantial Federal Question”).

               For the first time in their post-argument letter brief, defendants more particularly

note that it is newly alleged that “it was tortious for the Occidental Defendants to incinerate

102nd Street and Hyde Park waste at the Buffalo Avenue Plant . . . even though EPA required

them to incinerate waste”. June 5, 2020 post-argument letter brief [57], p. 4. Although that

particular allegation is new, it does not provide a new ground for removal. Defendants’

argument for removability has been - and continues to be - that the litigation arises from their

implementation of a federally imposed remedy. Although the three new sites may be governed

by different consent decrees, defendants do not explain why the particular consent decrees or

other variances between the sites provide a new ground for removability. See, e.g., Notice of

Removal (13-cv-00487) [1] ¶3 (“[p]laintiffs’ claims present controversies arising

under CERCLA because they challenge the sufficiency and effectiveness of the remediation of

the Love Canal Site, which was implemented pursuant to CERCLA, by both USEPA and

NYSDEC, and components of which were the subject of consent decrees between OCC and

those two agencies and ordered by this Court”); defendants’ Memorandum of Law in Opposition

to Remand (13-cv-00487) [116], p. 8 (“[p]laintiffs’ claims - that the remedy . . . was negligently

performed . . . are a direct challenge to numerous determinations of USEPA, made pursuant to

CERCLA’s administrative . . . process”).




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               Given the similarity between the arguments raised now and those that were raised

at the time of the initial removal, I see no reason why defendants’ current reliance on federal

officer jurisdiction could not have been raised based on the earlier pleadings. 28 U.S.C.

§1446(b)(3) “does not ‘revive the period for removal’ simply because some ‘other paper is

interposed that shows a ground for removal that previously was palpable but was not invoked by

the defendant.’” Johnson v. National Consolidation Services, LLC, 2013 WL 638600, *3 (E.D.

Pa. 2013) (quoting 14C Charles Alan Wright & Arthur R. Miller, Federal Practice and

Procedure, § 3731 at 562 (4th ed.2009)). As plaintiffs note (Reply Memorandum [50], pp. 1-2),

defendants’ current protestations are also difficult to reconcile with their acknowledgment that

“just as the Occidental Defendants act under color of a federal officer concerning the remediation

of the three new sites under federal consent decrees, so, too, do they act under color of a federal

officer concerning the remediation of the Love Canal site under federal consent decrees”.

Defendants’ Joint Memorandum of Law [40], p. 28.

               Defendants also argue that the “new facts alleged . . . were not available when

[they] first removed”. Defendants’ June 5, 2020 post-argument letter brief [57], p. 5. However,

“not every amendment to a plaintiff’s original complaint in state court allows the granting of a

second . . . petition to remove”. O’Bryan, 496 F.2d at 409. “It is not enough to have new facts

supporting removal; these new facts must provide a new ground for removal.” Everett Financial,

2019 WL 4597574, *3.

               Finally, defendants argue that the Second Circuit’s subsequent decision in

Bartlett, 737 Fed. Appx. 543, demonstrates that “Judge Curtin’s remand decision was in error”,

and that Judge Curtin’s remand decision is not law of the case. Defendants’ Joint Memorandum

of Law [40], p. 13. As part of that argument, defendants cite to Spurgeon v. Pacific Life



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Insurance Co., 2007 WL 685943, *3 (S.D. Ill. 2007) (defendants’ Joint Memorandum of Law

[40], p. 13), which held that “changes in or clarifications to existing law, may permit a second or

successive removal”. Spurgeon, 2007 WL 685943, *3. See also Rea v. Michaels Stores Inc., 742

F.3d 785, 789 (9th Cir. 2018) (“[a]n intervening change in the law that gives rise to a new basis

for subject matter jurisdiction qualifies as a subsequent event that justifies a successive removal

petition”).

                However, I do not read defendants’ Notice of Removal as contending that the

Second Circuit’s decision in Bartlett triggered another removal period. See Notice of Removal

[3], ¶46 (“[t]his Notice of Removal arises from the new allegations about the three CERCLA

sites that were not previously before this Court”). In any event, if that was defendants’ theory,

their removal notice would have had to been filed “within 30 days after a change in law that

revealed the facts necessary for federal court jurisdiction”, Skau v. JBS Carriers, Inc., 2018 WL

6804315, *1 (W.D. Wash. 2018), which did not occur here. See id., *2 (“[a] Ninth Circuit

decision that directly addresses the basis for the previous order granting remand certainly

qualifies as a ‘relevant change of circumstances,’ allowing for a second notice of removal. [The

controlling decision] was published on April 20, 2018 and Defendant’s second Notice of

Removal was filed on May 10, 2018, or within the 30 day window allowed for a successive

removal notice after a change in law”).

                Bartlett does not constitute an intervening change in the law, 5 and in any event

there has not been a sufficient change to the underlying factual allegations to trigger a new



5
         “[S]ummary orders, according to the Second Circuit's own rules, do not represent an intervening
change of controlling law.” Fero v. Excellus Health Plan, Inc., 304 F. Supp. 3d 333, 340 (W.D.N.Y.
2018); Hoefer v. Board of Education, 820 F.3d 58, 65 (2d Cir. 2016) (“an unpublished summary order[ ]
is not precedential”).


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removal period. See Federal Home Loan Mortgage Corp. v. Pulido, 2012 WL 2395204, at *2

(N.D. Cal. 2012) (“[t]he ban on successive removals . . . does not apply in circumstances where

the moving party advances a different theory of removal based on newly discovered facts or a

change in relevant law” (emphasis added)). Without such a change, “this is exactly the type of

‘de facto appellate review’ of a previous remand order that is prohibited”. Plaintiffs’

Memorandum [39-1], p. 11. See Deutsche Bank National Trust v. Jenkins, 2008 WL 4926968, *1

(S.D. Fla. 2008) (“[t]here are very limited circumstances when a Party may remove a case a

second time. In those instances, the basis for the second removal must differ from the first. That

is, a pleading must establish that the Court’s consideration of the second removal is more than

reconsideration of the ‘same grounds’ upon which the case was first removed”).



        2.      Revival Doctrine

                Defendants argue “this action was initially removable, notwithstanding Judge

Curtin’s decision that it was not, the Court should follow precedent in this District regarding

revival, MB Building Materials, Ltd. v. Paychex, Inc., 841 F.Supp.2d 740 (W.D.N.Y. 2012), and

find that the doctrine applies”. Defendants’ July 17, 2020 post-argument letter brief [66], p 3

(emphasis in original). Even if defendants are correct, and the action was initially removable

(i.e., Judge Curtin’s decision was wrong), I conclude that the revival doctrine is not applicable.

                “As a general rule, if a defendant fails to timely remove a case in compliance with

the procedures set forth in § 1446, the right to remove is irretrievably lost . . . . There is,

however, one exception to this general rule concerning a defendant’s loss of the right to remove.

This narrow judicially-created exception to the thirty-day rule is known as the revival

exception.” MG Building Materials, 841 F. Supp. 2d at 744. It applies “where an amended



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complaint fundamentally alters the nature of the case to such an extent that it creates an

essentially new lawsuit.” Id., 745.

               Initially, I doubt that the Second Circuit, which has strictly construed the removal

statute, would even recognize the revival exception. See Study Logic LLC v. 7-Eleven, Inc.,

2019 WL 9047030, *3 (E.D.N.Y. 2019) (“[i]t is instructive, however, that [the Second Circuit]

ha[s] found it appropriate to strictly construe the removal statute in other contexts”); Ray v.

Trimpspa Inc., 2006 WL 5085249, *3 (C.D. Cal. 2006) (“the revival exception is a doctrine of

dubious application in light of the strict construction this court must accord to the removal

statutes”); Nelson v. City of Las Vegas, 2018 WL 3458561, *4 (D.N.M. 2018) (“many courts

have either ignored the revival exception or viewed it with skepticism”).

               Under the plain language of §1446(b), “[e]ither a case is removable based on the

initial pleading or it is not. If it is removable, defendant must do so within thirty days.

Subsequent conduct can only affect removability if the case was not originally removable. If

Congress had wanted to place a third window of opportunity for removal coinciding with certain

kinds of amendments to existing actions, it could have done so.” Daggett v. American Security

Insurance Co., 2008 WL 1776576, *3 (M.D. Fla. 2008).

               Even if the revival exception is a viable theory in this Circuit, this is not one of

the rare circumstances where its application is warranted. “[C]ourts within the Second Circuit

have interpreted th[e] mandate of strict construction as serving to severely curtail the application

of the revival exception.” Study Logic, 2019 WL 9047030, *3. See also Casale v. Metropolitan

Transportation Authority, 2005 WL 3466405, *9 (S.D.N.Y. 2005) (“the judge-made revival

doctrine should be applied in ‘an exceedingly narrow scope’”, quoting Dunn v. Gaiam, Inc., 166

F.Supp.2d 1273, 1279 (C.D.Cal. 2001)).



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                Application of the exception is limited to only those instances where “an amended

pleading changes the nature of a case so drastically that the amendment ‘in effect begins a new

case’”. In re Methyl Tertiary Butyl Ether (“MTBE”) Products Liability Litigation, 2006 WL

1004725, *3 (S.D.N.Y. 2006). See also Rivera v. Berlin City’s Vermont Remarketed Autos, Inc.,

2020 WL 289464, *4 (D.Vt. 2020) (“factual allegations and legal claims have not been radically

transformed and the [amended pleading] thus is not essentially a new lawsuit”). For example,

“where the newly added claims ‘bear no resemblance’ to the original allegations or the parties

are realigned such that, for example, co-defendants become plaintiffs”. Id. By contrast, “[w]here

the pleading amendments do not change the ‘target’ of a plaintiff’s attack, the basic legal theory

of the case, or the ‘nature of the relief sought’ there is no revival”. Id.

                Application of the revival exception is also guided by the purpose of the 30-day

rule, “which is ‘to deprive the defendant of the undeserved tactical advantage that he would have

if he could wait and see how he was faring in state court before deciding whether to remove the

case to another court system; and to prevent the delay and waste of resources involved in starting

a case over in a second court after significant proceedings, extending over months or even years,

may have taken place in the first court’”. MG Building Materials, 841 F. Supp.2d at 745 (quoting

Price v. Wyeth Holdings Corp., 505 F.3d 624, 631 (7th Cir. 2007)). Ultimately, however,

“[t]here is no litmus test for whether an amendment does so change the nature of a lawsuit.

Rather, the court must undertake a case-by-case analysis, viewing the facts before it against the

reasons for both the thirty-day rule of § 1446(b) and the revival exception”. Id. at 747. Factors

courts consider in making that assessment include “whether the amended pleadings change the

target of plaintiff’s attack, the basic legal theory of the case, or the nature of the relief sought”.

Study Logic, 2019 WL 9047030, *3.



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                Those factors weigh against application of the exception. The defendants in this

case, and in particular Occidental, were, and remain, the targets of this action. See Study Logic,

2019 WL 9047030, *4 (“[n]either party contests that the initial target of this action was, and

remains, Defendant 7-Eleven”).

                Although defendants now characterize the amended complaints as “dramatically

chang[ing] the scope of the lawsuit” (defendants’ June 5, 2020 post-argument letter brief [57], p.

3), 6 that representation is difficult to reconcile with their earlier representation to Justice Kloch

that they “raise new claims, similar to those they previously raised with respect to the Love

Canal site, but relating to 3 more landfills and the Occidental Niagara Falls plant” (November

15, 2019 letter to Justice Kloch [42-11], p. 2 of 3 (CM/ECF) (emphasis added)), and the fact that

they gave their consent to the amendment many years into litigation. In any event, when

measured against MG Building Materials, supra and Residents and Families United to Save Our

Adult Homes v. Zucker, 2017 WL 5496277 (E.D.N.Y. 2017) - the only two cases cited by

defendants from within the Second Circuit that have applied the doctrine - it is evident that the

amended complaints did not sufficiently change the nature of the case to the degree required for

the exception to apply.

                In MG Building Materials, “[w]hat began as a lawsuit by two plaintiffs, alleging

that Paychex’s failure to make timely and adequate tax payments on behalf of MG and

Excellence had caused plaintiffs to incur some $162,000 in penalties, has morphed into a class

action, potentially involving thousands of class members across the country, while the damage

claims have grown to a whopping $15 billion, an increase of over nine million percent.” 841 F.


6
        At oral argument, defendants’ counsel explained that “[i]n a toxic tort suit, I can’t think of
anything more fundamental that would change the character of the suit than changing the theory of
migration, then changing the location, then changing the people involved, then changing the chemicals at
issue”. Oral argument transcript [56], p. 34.

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Supp. 2d at 748. The court highlighted that whereas the original pleadings had alleged that

Paychex had failed to pay taxes on behalf of its clients, the amended pleading contained

broadened claims that Paychex had “knowingly and purposefully engaged in . . . a nationwide

scheme to defraud its clients and convert their funds for Paychex’s own use”. Id. Faced with this

“drastic transformation”, the court concluded that application of the revival exception was

warranted. Id. at 747.

               Likewise, in Zucker, a single additional cause of action in the amended pleading

“changed the target” of the plaintiffs’ case because in addition to attacking state regulations, it

sought to undermine an existing, federal court-approved settlement agreement. The court

explained if the plaintiffs prevailed on the new cause of action, the consequences for the

defendants would be “radically transformed” by subjecting the State to “inconsistent directives

from the state and federal courts”. 2017 WL 5496277, *8. It further explained that the new cause

of action involved “a different legal theory”, “a different class of victims”, and was “premised on

a new set of facts”. Id. at *8-9. Since the new cause of action “substantially alter[ed] the nature

of the action”, the revival doctrine was applied to permit the removal.

               The amendment here falls short of altering the nature of the suit, which remains a

mass tort personal injury action arising from exposure to chemicals. Plaintiffs’ alleged injuries

are unchanged. While the sites that may have contributed to those injuries have expanded, each

involving different chemicals and remediation efforts, the amendment has narrowed the cases in

other respects. Whether you use plaintiffs’ estimate that “the new complaints collectively seek

damages for nearly 500 fewer plaintiffs” (plaintiffs’ Reply [50], pp. 4-5), or defendants’ estimate

that there are 77 fewer plaintiffs as a result of the latest amendments, the number of plaintiffs

defendants need to defend against has been appreciably reduced. Although defendants’ potential



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liability for the remaining plaintiffs may have increased because of the additional means of

causation, plaintiffs explain that “the injuries for which recovery is sought remain the same. Any

plaintiff who claims injury arising from exposures from the Love Canal site, and who now

claims exposures from other sites as well, is still seeking the same damages for the same injury.

That injury is still worth only whatever it was worth before”. Id. Therefore, unlike in MG

Building Materials, the potential damages have actually decreased.

               At least some of the policy considerations present in MG Building Materials that

favored application of the exception are also not present here. For example, there, the case had

been pending in state court for 16 months, with “most of the litigation . . . [having] consisted of

skirmishing over preliminary matters such as arbitration, removal, and venue”. 841 F.Supp.2d at

748. Hence, the court concluded that keeping the action in federal court would not “result in

‘delay and waste of resources in starting a case over here after significant proceedings . . . have

taken place in the state court’”.

               While the state court litigation here has been pending many times longer, the

parties sharply dispute the progress that the cases made during that period. There is no question

that the progress in this litigation falls well short of what one would expect from approximately

seven years of litigation in state court. However, we remain years past the starting gate and over

that period the state court (at both the Supreme Court and Appellate Division levels) has

garnered a deep familiarity with the cases through its resolution of motions to dismiss the Second

Amended Complaint and appeals therefrom (defendants’ June 5, 2020 post-argument letter [57],

p. 9; Appellate Division decisions [39-8]), as well as from Justice Kloch’s participation in

settlement discussions. Phillips Reply Affidavit [51], ¶13.




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                 Though defendants are not satisfied with plaintiffs’ discovery responses to date,

the fact remains that discovery has progressed bilaterally, with 130 plaintiffs having provided

Fact Sheets, and the 11 Abbo-Bradley plaintiffs having produced medical authorizations and

responses to defendants’ document requests and interrogatories. Hogan Affidavit [41], ¶29;

Mack Affirmation [42-3], ¶15. 7 On January 13, 2017 the Occidental defendants also served

plaintiff with their discovery responses [39-10].

                 In MG Building Materials, the court also recognized that while “a subjective

intent to mislead [by the plaintiff] is not always necessary for the revival exception to come into

play”, it found it “noteworthy” that “during the state court proceedings, plaintiffs’ counsel made

statements expressly disavowing any intention to file class claims”. 841 F.Supp. at 751. By

contrast, here, I accept plaintiffs’ representation that their decision to file the amended

complaints was based on the “newly discovered sources of toxic exposure in the Niagara Falls

area”. Phillips Affidavit [39-2], ¶14; Phillips Reply Affidavit [51], ¶4.

                 However, like in MG Building Materials, I do not find that defendants, who

sought to remove the actions early on, have attempted to garner an undeserved tactical advantage

with a wait and see approach to the state court proceedings. 8 Nevertheless, on balance, the

policy considerations for the 30-day rule of §1446(b) weigh against the application of the revival



7
         Defendants point to this as only being a sliver of the discovery concerning the then 1,200
plaintiffs. Yet, this production was sufficient for defendants to withdraw their then pending motion to
compel, and, at that time, defendants also represented that the parties were close to reaching an agreement
on a Case Management Order that would moot the pending motion, including plaintiffs’ cross-motion,
which sought a Case Management Order that would essentially make the Abbo-Bradley case, as the first-
filed matter, the bellwether case, while limited discovery would be exchanged in the remaining cases
pending completion of the Abbo-Bradley trial. See defendants’ October 11, 2017 letter to Justice Kloch
[42-4]; Mack Affirmation [42-3], ¶¶33-40.
8
         If either party appears dissatisfied with the state court proceedings, it is more likely plaintiffs,
who unsuccessfully sought Justice Kloch’s recusal. See defendants’ June 5, 2020 post-argument letter
brief [57], p. 10 n. 3.

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exception here. The “factual allegations and legal claims have not been radically transformed”,

and the amended complaints are “not essentially a new lawsuit”. Rivera, 2020 WL 289464 at *4.

Therefore, I conclude that defendants’ untimely removal cannot be excused.



B.      Even if Another 30-day Removal Period was Triggered, was Defendants’ Removal
        Timely?

                Even assuming arguendo that the amended complaints triggered another

opportunity for removal, defendants still must establish that they filed their notice of removal

“within 30 days after receipt by the defendant . . . of an amended pleading, motion, order or other

paper from which it may first be ascertained that the case is one which is or has become

removable”. 28 U.S.C. §1446(b)(3). Whereas plaintiffs argue that the 30-day period accrued

when the state court granted leave in its November 27, 2019 Scheduling Order for them to file

the amended complaints (plaintiffs’ Memorandum [39-1], pp. 9-10; Plaintiffs’ Reply

Memorandum [50], p. 8), defendants state that the 30-day removal clock was not triggered until

the amended complaints were filed on January 6, 2020. Defendants’ Joint Memorandum of Law

[40], pp. 10-12.

                As discussed above, the “statutory procedures for removal are to be strictly

construed”. Syngenta Crop Protection, Inc., 537 U.S. at 32. This includes the 30-day removal

timeline, which is “stringently enforce[d]”. Enterprises, 2016 WL 3512176, *4; Russell v.

Lamothermic Precision Casting Corp., 2020 WL 61139, *2 (S.D.N.Y. 2020) (“[f]ederal courts

stringently enforce the 30-day removal timeline absent a showing of waiver or estoppel”). 9


9
        Defendants argue that since the removal here is based, in part, on federal officer grounds, the
presumption is flipped to be in favor of removal. Defendants’ June 5, 2020 post-argument letter brief
[57], pp. 1-2 (citing Durham v. Lockheed Martin Corp., 445 F.3d 1247, 1253 (9th Cir. 2006)). In
Durham, the Ninth Circuit recognized that because of the presumption in favor of federal officer removal,
“a federal officer defendant’s thirty days to remove commence[s] when the plaintiff discloses sufficient

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                 There is no binding precedent as to which of these events trigger the removal

clock, and courts have taken several approaches. “A minority of courts ha[ve] held that, where

an amended complaint is the document that first gives the defendant notice of removability, the

thirty-day period for removal commences on service of a motion to amend or stipulation

permitting amendment.” Lucente S.P.A. v. Apik Jewelry, Inc., 2007 WL 7209938, *2 (C.D. Cal.

2007). See also Shukla v. Deloitte Consulting LLP, 2020 WL 949426, *3 (S.D.N.Y. 2020)

(removal was not premature where it was based on a proposed amended complaint filed in

connection with a motion for leave to amend); McDonough v. UGL UNICCO, 766 F. Supp. 2d

544, 546 (E.D. Pa. 2011) (“[t]hough some courts have held that a complaint becomes removable

upon mere notice of a motion for leave to amend that, if granted, would provide federal subject

matter jurisdiction over the matter, this is the minority view” (emphasis in original)). Other

courts have found that “the period begins when the amended complaint is filed”.

                 Instead, “most courts . . . have held that § 1446(b)’s thirty-day limitations’

period commences upon either the granting of the motion to amend or the actual filing of the

amended complaint.” May v. J.D. Candler Roofing Co., 2005 WL 1349110, at *4 (E.D. Mich.

2005) (emphasis added). As between those approaches, those that hold that “the thirty-day

removal period does not begin to run until a state court judge enters an order granting leave to

file an amended complaint” are often characterized as representing the majority view. Drain v.

South Carolina Department of Education, 2019 WL 4409461, *2 (D.S.C. 2019); Culberson v.

Walt Disney Parks & Resorts, 2015 WL 5796997, *3 (C.D. Cal. 2015) (“[u]nder the ‘majority’


facts for federal officer removal, even if the officer was previously aware of a different basis for
removal”. Durham, 445 F.3d at 1253. Hence, Durham merely recognized that a new 30-day window
opens when federal officer removability arises, even if an alternative ground for removal was evident
from the initial pleading. It did not more expansively establish, as defendants contend, that “[p]rocedural
questions are subject to the presumption in favor of Federal Officer Removal”. June 5, 2020 post-
argument letter brief [57], p. 1.

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approach, the removal window opens when the state court grants a plaintiff’s motion to amend”);

Robinson v. North Bolivar Consolidated School District, 2019 WL 3536819, *1 (N.D. Miss.

2019) (“[m]ost courts have conditioned removability on the granting of the motion to amend”

(emphasis in original)); Hamilton v. Hertz Corp., 607 F.Supp. 1371, 1373 (S.D.N.Y.1985)

(“[g]enerally, the time period [for removal] would start to run ‘after receipt’ by defendants of a

copy of the order [granting the motion to amend]”). See also Glass v. City of Chattahoochee,

2016 WL 3128370, *4 (N.D. Fla.), adopted, 2016 WL 3129218 (N.D. Fla. 2016) (“[a]lthough §

1446(b)(3) notes that the 30-day clock begins running after receipt of a motion, that provision

has generally been held to be applicable in diversity cases but not federal question cases. Thus, if

a case as initially filed is not removable because it asserts only state law claims, the majority of

courts have required a motion to amend the pleading be granted prior to removal”). The courts

subscribing to this view explain that until leave to appeal is granted “the complaint does not state

a federal claim. It might never state a claim, since the state judge might deny the motion”.

Sullivan v. Conway, 157 F.3d 1092, 1094 (7th Cir. 1998).

               By contrast, defendants cite to Israel v. Volkswagen, A.G., 2016 WL 9334707, *7

(D. Vt. 2016), in support of their argument that “the removal clock does not start until an

amended pleading is permitted, filed, and operative”. Defendants’ Joint Memorandum of Law

[40], p. 11 (emphasis added). In Israel, the court recognized that “[a] majority of courts having

considered this issue hold that the thirty-day removal period does not begin until the state court

grants leave to amend and the amended complaint becomes operative”. Id., *6 (emphasis added).

It went on to predict that “the Second Circuit would endorse the majority view and construe the

thirty-day removal period to run from the effective date of Plaintiffs’ Amended Complaint.




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Plaintiffs’ Amended Complaint became effective on January 7, 2016, the date the state court

granted leave to amend.” Id., *7.

               The plain language of the decision appears to equate the “operative” or

“effective” date of the amended complaint to the date leave to amend is granted, rather than the

filing of the amended complaint. However, in fairness to defendants, it is unclear whether the

amended complaint in Israel needed to be filed or was deemed filed when leave to amend was

granted. In any event, regardless of what Israel may (or may not) have held, it did not confront

the issue before me, since the plaintiff was advocating for the removal trigger being the date

leave to amend was sought, whereas the defendant was arguing that it was the date leave to

amend was granted. Id., *1, 6.

               Nevertheless, there are other cases that support defendants’ position that the 30-

day removal period is triggered by the filing of the amended pleading. See, e.g., Universal

Semiconductor, Inc. v. Tuoi Vo, 2017 WL 2719987, *2 (N.D. Cal. 2017); Robinson, 2019 WL

3536819, *1 (“[o]ther [courts] have required the amended complaint be filed or otherwise made

effective”); Mininsohn v. Ocwen Loan Servicing, LLC, 2016 WL 6569342, *3 (M.D. Fla. 2016)

(“[t]he triggering event for the 30–day removal period under § 1446(b)(3) is the day on which

the state court grants the motion for leave to amend and deems the amended complaint filed”).

That “approach is a slightly more formal approach than the ‘majority’ view because it includes

any delay between when a motion for leave to amend is granted and the actual filing of the

amended complaint.” Culberson, 2015 WL 5796997, *4. The courts following that view

“emphasize the possibility that even if leave is granted a party may never actually amend his

complaint and thus the case might never become removable.” Douklias v. Teacher’s Insurance &

Annuity Association, 35 F. Supp. 2d 612, 615 (W.D. Tenn. 1999).



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                Here, there was also no risk that the amended complaints, the substance of which

defendants had been aware of for months, would not be filed, as evidenced by Justice Kloch’s

Scheduling Order, which stated that “plaintiffs will file Amended Complaints, as the defendants

have consented, by January 6, 2020” ([39-18] (emphasis added), and set a complete briefing

schedule for the defendants’ anticipated dismissal motions in response to the amended

complaints. Id., ¶¶1-5 (emphasis added). See Butcher v. Miller, 212 W. Va. 13, 21 (2002) (the

term “‘will’ means ‘will’”). In any event, I “resolve any ambiguity regarding the time for

removal under § 1446(b) in favor of remand and interpret § 1446(b)’s thirty-day limitations’

period to commence upon the state court granting Plaintiff’s motion to amend, rather than

Plaintiff's official filing of his amended complaint after receiving such leave.” May, 2005 WL

1349110, *6.

                Alternatively, defendants point to their November 15, 2019 letter, as evidencing

that it was only their “tentative agreement” to allow plaintiffs to amend. [42-11], p. 2 of 3

(CM/ECF) (emphasis added). However, that ignores the subsequent - and determinative -

November 27, 2019 Scheduling Order [39-18], which renders it indisputable that defendants

consented to plaintiffs’ proposed amended complaints in all 19 actions. Phillips Affidavit [39-2],

¶18. Nothing in Justice Kloch’s Scheduling Order required plaintiffs to either file a motion for

leave to amend or to obtain a further stipulation. 10 At that point, there was no question that

plaintiffs had leave to file the amended complaints, and that they would be filed by January 6,




10
         Defendants contend that the November 26, 2019 conference was “to discuss a schedule for
litigating over whether Plaintiffs could amend their complaint yet again”. Defendants’ post-argument
letter brief [57], p. 11 of 11 (CM/ECF) (emphasis added). Even if that was the dispute heading into
conference, it is evident from the November 27, 2019 Scheduling Order that by the end of that
conference, plaintiffs would, with defendants’ consent, be filing the amended complaints.


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2020 containing the substance that defendants themselves had consented to and upon which they

now base their removal petition.

               Ignoring the plain language of Justice Kloch’s Scheduling Order, defendants

argue that “the allegations regarding the three new sites were not in the case - and therefore not

susceptible to removal - until they were asserted in an amended pleading agreed to by the parties

and/or filed with the court”. June 12, 2020 post-argument letter brief [59-1], p. 2 (emphasis in

original) (citing Israel, 2016 WL 9334707, *7). Yet, that is exactly what occurred here - i.e., the

parties agreed that plaintiff could file amended complaints. As plaintiffs contend, “all doubt

about the amendments’ future had been removed by the court’s assent to the amendments”.

Plaintiffs’ Reply Memorandum [50], p. 8. At that point, the three sites were sufficiently in the

case to trigger the removal clock. See Drain, 2019 WL 4409461, *2; Culberson, 2015 WL

5796997, *3.

               I recognize that ordinarily, a motion for leave to amend or a stipulation is

accompanied by the proposed pleading and when that motion is granted or the stipulation is

approved, there is no question as to the content of the amended pleading. See, e.g., Krantz v.

Smith, 2020 WL 3410824, *3, 5 (D.S.C. 2020) (holding that the 30-day removal period was

triggered by the parties’ execution of a stipulated order permitting the amendment or the court’s

approval of that order, which attached the proposed amended complaint). Although that

technically did not occur here, I see no reason why the result should be different. At the time

Justice Kloch approved the parties’ agreement and granted plaintiffs leave to amend, the

allegations upon which defendants base their removal were firmly established. A seer was not

required to tell defendants what was inevitably coming.




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               The record demonstrates that the lone item that remained to be finalized in the

amended complaints by the January 6, 2020 filing deadline was paring down the parties.

Primarily, this entailed removing plaintiffs from the suits - changes that had nothing to do with

basis for removal. Phillips Reply Affidavit [51], ¶11; [42-13], [42-14]. It also appears that

during the time period before the amended complaints were filed, some of the defendants were

dropped (see Hogan Affidavit [41], ¶48) and that errors in continuing to name previously

dismissed plaintiffs and defendants were corrected. Id., ¶44. None of this, however, changed the

operative jurisdictional facts in the amended complaints, which defendants consented to in

November 2019, and had been aware of for at least the preceding eight months.

               Even though the amended complaints may not have been in “final” form as of

November 27, 2019, there is no indication that defendants lacked a concrete awareness of the

substance of the amendments or that “substantive changes” bearing on the purported existence of

federal question and federal officer jurisdiction remained to be negotiated, as defendants now

contend. Defendants’ Joint Memorandum [40], p. 12; defendants’ July 17, 2020 post-argument

letter brief [66], p. 3 (“[t]he form of the complaints were still being revised in significant and

material respects”). In fact, it would be illogical to conclude that defendants or their experienced

counsel would have consented to the filing of the amended complaints without anything short of

a complete and firm understanding of the substance of the proposed amendments that would be

filed. See Culberson, 2015 WL 5796997, *4 (“[t]hough many courts have mentioned the

defendant’s notice of the operative document, few courts have required actual notice before the

thirty-day window commences”).

               As plaintiffs contend, defendants’ argument that the final amended complaints

were necessary to trigger the removal period is also inconsistent with defense counsel’s own



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conduct in Salerno v. City of Niagara Falls, 18-cv-00304, et al. (WKS), where they based

removal on a Summons with Notice, without ever having seen the Complaint, and before it was

filed or served. Plaintiffs’ June 5, 2020 post-argument letter brief [58], p. 2. The two-sentence

description in the Summons with Notice stated, inter alia, that plaintiffs were seeking relief “on

behalf of themselves and others . . . for personal injury . . . caused by exposure to chemicals and

contamination of home and property from chemicals”. 18-cv-00304 [1-1], pp. 2-3 of 6

(CM/ECF).

               Attempting to distinguish their conduct in Salerno, defendants argue that since

“class action allegations were in the case from the outset, regardless of whether the complaint

was served, Occidental was able to ascertain from the summons and notice . . . that there was

federal jurisdiction under the Class Action Fairness Act [(“CAFA”)]”. Defendants’ June 12,

2020 post-argument letter brief [59-1], p. 2. I doubt whether the simple two sentence description

in the Summons with Notice provided sufficient notice to trigger their removal period. See

Cutrone v. Mortgage Electronic Registration System, Inc., 749 F.3d 137, 145 (2d Cir. 2014) (“in

CAFA cases, the removal clocks of 28 U.S.C. § 1446(b) are not triggered until the plaintiff

serves the defendant with an initial pleading or other document that explicitly specifies the

amount of monetary damages sought or sets forth facts from which an amount in controversy in

excess of $5,000,000 can be ascertained”). In any event, I find it difficult to reconcile how

defendants “could have removed Salerno before ever seeing the complaint, but could not have

removed these cases until the amended complaints, the substance of which they had known for

months, were formally filed”. Plaintiffs’ Response [61], p. 10.

               While it is unclear why the parties executed a subsequent Stipulation to Amend

Complaints [43-1] before the filing of the final version of the amended complaints, that



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Stipulation did not negate the effect of Justice Kloch’s Scheduling Order granting plaintiffs leave

to amend - in fact, the Stipulation expressly states that it is “in accordance with the Scheduling

Order” Id., ¶1.

                  Nor does the Stipulation demonstrate that there was a substantive variance

between the proposed pleadings which defendants consented to at the November 26, 2019

conference and the amended complaints ultimately filed that altered the indicia of removability.

As plaintiffs note, the proposed substantive amendments in the March 2019 draft were “in all

relevant regards identical to the final amended complaints filed on January 6, 2020”. Phillips

Affidavit [39-2], ¶16.

                  Finally, exalting form over substance, defendants argue that plaintiffs “never even

moved for leave to amend”, and dispute that “a scheduling order” was an order granting them

leave to amend. Defendants’ Joint Memorandum of Law [40], p. 12 (emphasis in original).

However, [t]he statute articulates a functional test, not a formal one”. Lucente S.P.A., 2007 WL

7209938, *5. “The ‘motion, order or other paper’ requirement is broad enough to include any

information received by the defendant, whether communicated in a formal or informal manner.”

Yarnevic v. Brink’s, Inc., 102 F.3d 753, 755 (4th Cir. 1996).

                  Regardless of what form plaintiffs’ request for leave to amend took (e.g., by

stipulation or motion) or how the state court memorialized its approval (e.g., by order or

scheduling order), as of November 27, 2019 defendants had sufficient notice of the three

additional sites alleged in the amended complaints and plaintiffs had permission - from both

defendants and the court - to file the amended complaints with those sites, thereby triggering




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defendants’ removal clock, and rendering their February 1, 2020 removal untimely. Therefore, I

recommend that plaintiffs’ motion to remand be granted. 11



C.        Are Plaintiffs Entitled to Attorneys’ Fees and Costs?

                 Plaintiffs request an award of attorneys’ fees and costs pursuant to 28 U.S.C. §

1447(c), which provides that “[a]n order remanding the case may require payment of just costs

and any actual expenses, including attorney fees, incurred as a result of the removal”. “[A]bsent

unusual circumstances, attorney's fees should not be awarded when the removing party has an

objectively reasonable basis for removal.” Martin v. Franklin Capital Corp., 546 U.S. 132, 136,

(2005).

                 On plaintiffs’ initial motion for remand, Judge Curtin denied a similar request

finding that “defendants’ arguments for removal, while ultimately unpersuasive, have some

plausible support in the law, and there is nothing in the record before the court to suggest that the

matter was removed for the purpose of prolonging the litigation, imposing costs on the opposing

party, or for any other reason than a good faith attempt to secure the proper forum”. Abbo-

Bradley, 2013 WL 4505454, *11. For those same reasons, I recommend that plaintiffs’ request

for attorneys’ fees and costs again be denied.



                                           CONCLUSION

                 For these reasons, I recommend that plaintiffs’ motion [39] to remand be granted,

except to the extent that it seeks attorneys’ fees and costs. Unless otherwise ordered by District

Judge Frank P. Geraci, Jr., any objections to this Report and Recommendation must be filed with


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         Because I have found that remand is warranted on procedural grounds, I have not addressed the
parties’ other arguments.

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the clerk of this court by September 29, 2020. Any requests for extension of this deadline must

be made to Judge Geraci. A party who “fails to object timely . . . waives any right to further

judicial review of [this] decision”. Wesolek v. Canadair Ltd., 838 F. 2d 55, 58 (2d Cir. 1988);

Thomas v. Arn, 474 U.S. 140, 155 (1985).

               Moreover, the district judge will ordinarily refuse to consider de novo arguments,

case law and/or evidentiary material which could have been, but were not, presented to the

magistrate judge in the first instance. Patterson-Leitch Co. v. Massachusetts Municipal

Wholesale Electric Co., 840 F. 2d 985, 990-91 (1st Cir. 1988).

               The parties are reminded that, pursuant to Rule 72(b) and (c) of this Court’s Local

Rules of Civil Procedure, written objections shall “specifically identify the portions of the

proposed findings and recommendations to which objection is made and the basis for each

objection . . . supported by legal authority”, and must include “a written statement either

certifying that the objections do not raise new legal/factual arguments, or identifying the new

arguments and explaining why they were not raised to the Magistrate Judge”. Failure to comply

with these provisions may result in the district judge’s refusal to consider the objections.

Dated: September 15, 2020

                                                   /s/Jeremiah J. McCarthy
                                                   JEREMIAH J. MCCARTHY
                                                   United States Magistrate Judge




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